              Case 2:05-cr-00260-RSL Document 120 Filed 05/26/06 Page 1 of 1



 1

 2

 3

 4
                                     UNITED STATES DISTRICT COURT
 5                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 6
      UNITED STATES OF AMERICA,
 7
                                    Plaintiff(s),
 8                                                               No. CR05-260L
                     vs.
 9                                                               MINUTE ORDER
      MATTHEW ERICKSON,
10
                                    Defendant(s).
11

12                  The following Minute Order is made and entered on the docket at the direction of the

13   HONORABLE ROBERT S. LASNIK, UNITED STATES DISTRICT JUDGE:

14          The imposition of sentence for the above named defendant has been rescheduled from Friday,

15   June 23, 2006 to Monday, June 19, 2006 at 9:00 a.m. before the Honorable Robert S. Lasnik, United

16   States District Court Judge.

17

18

19

20          DATED this 26th day of May, 2006.

21

22                                                       /s/Kerry Simonds
                                                         by Kerry Simonds, Deputy Clerk
23                                                       To Robert S. Lasnik, Judge
                                                         206-370-8519
24   Copy to the Court
     and Counsel
25

26   MINUTE ORDER
